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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION




UNITED STATES OF AMERICA,                      )   CASE NO. 1:15-cr-00004-DAP
                                               )
              Plaintiff,                       )   JUDGE DAN AARON POLSTER
                                               )
       vs.                                     )   JUDGMENT ENTRY
                                               )
RONALD BERGRIN,                                )
                                               )
              Defendant.                       )



       On October 26, 2016, the Court sustained Objections to the August 29, 2016 Competency

Report, Doc #: 95, found Ronald Bergin incompetent to stand trial, dismissed the indictment

without prejudice, and ordered Ronald Bergin transported and released. Doc #: 98.

       For the reasons stated on the record during the October 26, 2016, Hearing, the indictment

is hereby DISMISSED WITHOUT PREJUDICE. The above-captioned case is closed.

       IT IS SO ORDERED.

                                                   /s/ Dan A. Polster Oct. 27, 2016
                                                   DAN AARON POLSTER
                                                   UNITED STATE DISTRICT JUDGE
